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                    UNITED STATES DISTRICT COURT
          FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.4
                               Eastern Division

Art Akiane LLC
                                     Plaintiff,
v.                                                      Case No.: 1:19−cv−02952
                                                        Honorable Edmond E. Chang
Art & SoulWorks LLC, et al.
                                     Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, April 21, 2022:


        MINUTE entry before the Honorable Jeffrey Cole: The Joint Motion For
Extension of Time For Expert Discovery [305], represents that scheduling conflicts
among the various experts and their respective counsel relating to deposition dates, require
that expert discovery be extended one month to end on 7/29/22. Based on the implicit
representation that the dates for the depositions have been agreed upon not only by
counsel for the parties, but by the experts and their counsel, the motion is granted.
Emailed notice (yt)




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